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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
     Plaintiff,                      )     4:08CR3089
                                     )
     v.                              )
                                     )       ORDER
MARIA D. CARRERA and                 )
ROBERTO G. GALVAN,                   )
                                     )
     Defendant.                      )


     IT IS ORDERED,

     Defendant Galvan’s motion to continue, filing 34, is
granted, and

     1. Trial of this matter as to both defendants is continued
to 9:00 a.m., December 1, 2008, before the Honorable Richard G.
Kopf in Courtroom 1, United States Courthouse and Federal
Building, 100 Centennial Mall North, Lincoln, Nebraska. Jury
selection will be held at commencement of trial.

     2. The ends of justice will be served by granting such a
motion, and outweigh the interests of the public and the
defendants in a speedy trial, and the additional time arising as
a result of the granting of the motion, the time between August
19, 2008 and December 1, 2008 shall be deemed excludable time in
any computation of time under the requirements of the Speedy
Trial Act, for the reason that the parties require additional
time to adequately prepare the case, taking into consideration
due diligence of counsel, the novelty and complexity of the case,
and the fact that the failure to grant additional time might
result in a miscarriage of justice.
18 U.S.C. § 3161(h)(8)(A) & (B).

     Dated August 19, 2008.

                                    BY THE COURT


                                    s/David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
